
71 N.Y.2d 844 (1988)
Bank of Montreal, Respondent,
v.
Dunya Predovan et al., Appellants.
Court of Appeals of the State of New York.
Submitted January 4, 1988.
Decided March 22, 1988.
Motion, insofar as it seeks leave to appeal from so much of the order of the Appellate Division as affirmed the order of the Supreme Court denying defendant Janco Predovan's motion to vacate that court's judgment, dismissed upon the ground that that portion of the order sought to be appealed from does not finally determine the action within the meaning of the Constitution. Motion, insofar as it seeks leave to appeal from so much of the order of the Appellate Division as affirmed the order and judgment of Supreme Court, dismissed upon the ground that an appeal does not lie from a default judgment entered upon an uncontested inquest (CPLR 5511). Motion insofar as it seeks a stay and poor person relief dismissed as academic.
